Case 4:21-CV-GR9 gM ED Sk TE BIRYRTCH CBRE! Of 1 PavelD #: 7

FOR THE EASTERN DISTRICT OF TEXAS

SHERMAN DIVISION
BETTER KEIKI, LLC D/B/A MAIRICO
and SENACO DIRECT,
Garnishor,
Vv.

AMAZON PAYMENTS, INC. and
AMAZON.COM SERVICES, LLC

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§ Civil Action No.
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Garnishee.

 

AFFIDAVIT OF DAVID A. FETTNER
IN SUPPORT OF WRIT OF GARNISHMENT

 

BEFORE ME, the undersigned authority, in and for said County and State, on this day

personally appeared David A. Fettner, AFFIANT, known to me, and, after being duly sworn,
deposed and stated as follows:

"My name is David A. Fettner. I am over twenty-one (21) years of age, of sound mind,
capable of making this affidavit, fully competent to testify to the matters stated herein, and
Ihave personal knowledge of each of the matters stated herein."

"T am the counsel for Plaintiffs in collecting the judgment rendered in Civil Action No.
4:17-CV-850; Better Keiki, LLC d/b/a Mairico and Senaco Direct v. Mairicodirect,
Kamirous, DragonB Store et. Al; In the United States District Court for the Eastern District
of Texas Sherman Division. My client is Judgment Creditor, Better Keiki, LLC d/b/a
Mairico and Senaco Direct, in the above-referenced suit. A valid and subsisting judgment
in this matter is unpaid. I believe AMAZON PAYMENTS, INC. and AMAZON.COM
SERVICES, LLC are indebted to one or more of the Judgment Debtors, MairicoDirect,
KamiroUS, DragonB, ForLovingYou, Houseware, NewChoice USA, CPI Delta,
CMR. Alew, FranceChef, SunnyStoreLove, or NTTL or holds deposits or other effects for,
or on behalf of one or more of the debtors.

"I don’t believe that the defendants have property in Texas, net of liens subject to
execution, sufficient to satisfy the judgment described in the above referenced suit.”

AA

avigA. Fetther, Afftant

3 BSCRIBED AND SWORN TO before me by the said Affiant, David A. Fettner, on

this jae day of May, 2021.

 

 

 

 

 

 

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39. % Notary Public, State of Texas ae me
S53: GF Comm. Expires 01-13-2023 yl

% Asia Notary ID 128492898 Notary Public in and for the State of Texas

 

 

 

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